

Kim v HFZ 11 Beach St. LLC (2021 NY Slip Op 06043)





Kim v HFZ 11 Beach St. LLC


2021 NY Slip Op 06043


Decided on November 04, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 04, 2021

Before: Gische, J.P., Mazzarelli, Shulman, Pitt, Higgitt, JJ. 


Index No. 657153/20 Appeal No. 14544 Case No. 2021-02487 

[*1]David Kim, Plaintiff-Respondent,
vHFZ 11 Beach Street LLC, et al., Defendants, Unit 3B 11 Beach LLC, Defendant-Appellant.


Rosen Law LLC, Great Neck (Gary Rosen of counsel), for appellant.
Ganfer Shore Leeds &amp; Zauderer LLP, New York (Steven J. Shore of counsel), for respondent.



Order, Supreme Court, New York County (Nancy M. Bannon, J.), entered June 17, 2021, which, inter alia, denied in part defendant's motion to cancel the notice of pendency insofar as it directed that the notice of pendency shall be cancelled if defendant posted a bond in the amount of $4,375,000 within 20 days, unless thereafter plaintiff also posted a bond in the amount of $150,095 within 40 days, unanimously affirmed, without costs.
The court properly utilized the "double bonding" approach of CPLR 6515(2) to cancel the notice of pendency upon posting of a bond by defendant unless plaintiff posts an undertaking that will indemnify defendant for any damages flowing from the notice of pendency (see Hakmon v 244 E. 48th St. Dev., LLC, 188 AD3d 460 [1st Dept 2020]; Ansonia Realty Co. v Ansonia Assoc., 117 AD2d 527 [1st Dept 1986]). There is no basis to disturb the amounts of the bonds imposed.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 4, 2021








